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                          UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF LOUISIANA

                                                     *
In re: OIL SPILL by the OIL RIG
       “DEEPWATER HORIZON” in the                    *            MDL No. 2179
       GULF OF MEXICO, on
       APRIL 20, 2010                                *            SECTION: J

                                                     *            JUDGE BARBIER

         This document applies to:                                MAGISTRATE SHUSHAN
                                                     *
         All cases in Pleading Bundle III.B(3).
                                                     *
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                                  NOTICE OF SUBMISSION

         PLEASE TAKE NOTICE that Defendant Marine Spill Response Corporation’s Motion

to Dismiss the B(3) Pleading Bundle Master Complaint for failure to state a claim under Federal

Rule of Civil Procedure 12(b)(6) is hereby set for submission on the 11th day of May, 2011 at

9:30 a.m., before the Honorable Carl Barbier, United States District Judge, United States District

Court for the Eastern District of Louisiana, 500 Camp Street, New Orleans, Louisiana.

Dated:           New York, New York
                 February 28, 2011
                                             Respectfully submitted,

                                             BLANK ROME LLP
                                      By:    /s/ Alan M. Weigel__________
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                              CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Notice of Submission has been served on
All Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance
with Pretrial Order No. 12, on this 28th day of February 2011.

                                          /s/ Alan M. Weigel___________
                                          Alan M. Weigel




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